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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP.,                            )
SMARTMATIC HOLDING B.V., AND                     )
SGO CORPORATION LIMITED,                         )
                                                 )
                  Plaintiffs,                    )
                                                        Civil Action No. 1:21-cv-02900-CJN
                      v.                         )
                                                 )
HERRING NETWORKS, INC., D/B/A                    )
ONE AMERICA NEWS NETWORK,                        )
                                                 )
                  Defendant.                     )

                                STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiffs, Smartmatic USA Corp., Smartmatic

International Holding B.V., and SGO Corporation Limited, and Defendant Herring Networks, Inc.

d/b/a One America News Network, by and through undersigned counsel, hereby stipulate that this

action and all claims asserted therein be dismissed with prejudice, with each party bearing its own

attorneys’ fees, costs, and expenses. The parties also withdraw and terminate all pending motions

submitted in this action.
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                                        By: /s/ J. Erik Connolly
Dated: April 16, 2024
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                                        B.V., and SGO Corporation Limited




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                                  By: /s/ Charles L. Babcock

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 16th day of April, 2024, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which I understand to have

served counsel for the parties.

                                                /s/ J. Erik Connolly
                                                     J. Erik Connolly




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